                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )          No. 3:11-00194
                                             )          JUDGE CAMPBELL
STERLING RENEVA RIVERS                       )


                                          ORDER

       The Court held an evidentiary hearing on May 16, 2013 regarding Defendant’s

Memorandum Of Law In Support Of Petition To Dismiss Indictment Due To Outrageous

Government Conduct (Docket No. 1055). The parties may file any supplemental arguments on

or before May 23, 2013.

       It is so ORDERED.



                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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